  Case 19-08118      Doc 38   Filed 11/27/19 Entered 11/27/19 12:39:27             Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )               BK No.:     19-08118
SHAINICE FRANKLIN                          )
                                           )               Chapter: 13
                                           )
                                                           Honorable Jack Schmetterer
                                           )
                                           )
              Debtor(s)                    )

             ORDER DISMISSING FOR FAILURE TO MAKE PLAN PAYMENTS

       This matter coming before the court on Trustee's Motion to Dismiss, due notice having been
given and the court having heard the facts presented;


IT IS THEREFORE ORDERED that this case is dismissed on the Trustee's motion for material default
by the debtor with respect to a term of a confirmed plan, pursuant to § 1307 (c) (6).




                                                        Enter:


                                                                 Honorable Jack B. Schmetterer
Dated: November 27, 2019                                         United States Bankruptcy Judge

 Prepared by:
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 Chapter 13 Trustee
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